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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


JOHN DOE,

                Plaintiff,

                v.
                                                                      CIVIL ACTION
 FOX BROADCASTING COMPANY, LANGLEY                                    NO. 4:09-CV-40191-FDS
 PRODUCTIONS, INC., CITY OF WORCESTER,
 SERGEANT THOMAS NEEDHAM, CAMERAMAN
 DOE 1, CAMERAMAN DOE 2, OFFICER DOE 1,
 OFFICER DOE 2, OFFICER DOE 3,

                Defendants.


              STIPULATION OF DISMISSAL WITHOUT PREJ UDICE OF
               DEFENDANT FOX BROADCASTING COMPANY ONLY

       The parties, by their undersigned counsel, pursuant to Rule 41(a)(1)(ii), Federal Rules of

Civil Procedure, hereby stipulate to the dismissal without prejudice of the defendant Fox

Broadcasting Company only. All other parties remain unaffected by this dismissal without

prejudice.

 JOHN DOE                                      FOX BROADCASTING COMPANY and
                                               LANGLEY PRODUCTIONS, INC.
 By his attorneys,
                                               By their attorneys,

/s/ Robert A. Scott                   ______
 Hector E. Pineiro (BBO #555315)               /s/ Leonard H. Freiman       ______________
 Robert A. Scott (BBO #648740)                  Leonard H. Freiman (BBO #560233)
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 CITY OF WORCESTER, et al.

 By their attorneys,


/s/ Wendy L. Quinn ____________________
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 Andrew J. Abdella (BBO #665663)
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Dated: October 22, 2010




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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants identified on the Notice of Electronic Filing.



                                               /s/ Leonard H. Freiman
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